UNITED STATES DISTRICT COURT
Case 2:06-cr-00319-ENésthemoRistrieiof Califateia 09/22/06 Page 1 of 21
280 South First Street
San Jose, California 95113

www.cand uscourts.2ov
Richard W. Wieking General Court Number
Clerk 408.535.5363

August 17, 2006

Office of the Clerk-USDC F | L E D
Eastern District of CA
4-200 United States Courthouse SEP 22 2006

501 “1” Street

Sacramento, CA 95818-2322 GLERK, U 5. DISTRICT cou
EASTERN DISTRICT OF CALIFORNIA

BY

R-99-20048-01-JF (Your Case# 2:05-CR-0319-E DEPUTY CLERK

Case Number:

Casc Title: United States -v- Johony C, Hong.

Dear Clerk:

Pursuant to order transferring the jurisdiction of probation in the above-captioned case,
transmitted herewith are certified copies of:

1. Indictment/Information
2, Transferral Order
3, Judgment
4. Docket Sheets
Please acknowledge receipt of the above document on the copy of this form.
Very truly yours,

RICHARD W. WIEKING, Clerk

by. Cla. £ (ecabeno

Case Systems Administrator

(enclosures)

o\mrg\crimiprobtran.mrg Rev 11/95
Case 2:06-cr-00319-EJG Document1 Filed 09/22/06 Page 2 of 21

"PROB 22 DOCKET NUMBER fran. Court)
(Rev. 2/88) 0971/5:99CR20048-01-JE
TRANSFER OF JURISDICTION . DOCKET NUMBER (Rec, plgqurt)
#06-((R-03 19 &
s=4_

NAME AND ADDRESS OF PROBATIONER/SUPERVISED RELEASEE DISTRICT DIVISION

Johnny C, Hong FILED ND/CA San Jose

TT4 l 52nd Street NAME OF SENTENCING JUDGE

Sacramento, CA 95828 AUG 4 & 9008 Jeremy Fogel —__ _-
RICHARD | W. WI EONS vey DATES OF PROBATION/
wot Batre Pe Bawia | SUPERVISED RELEASE TAT/06 TW6/09
OFFENSE Soy 1 hereby cerity that the annexed

18:LUSC 1951(a) - Conspiracy to Obsiruct Cokmorce by Robbery, a class C feldniistrument is a true ‘led inves
‘ ginal filed in my

18:USC 924(e}(1) - Using or Carrying a Firearm During a Crime of Violence, a cee prea ae ILI):

RICHARD W. WIEKING

Clerk. U5. Bistrict Court
Blorthers Ciisizic

PART 1 - ORDER TRANSFERRING JURISDICTION

UNITED STATES DISTRICT COURT FOR THE NORTHERN DISTRICTIO#E

IT 18 HEREBY ORDERED that, pursuant to 18 U.S.C. § 3605, the jurisdiction of the probationer
or supervised releasee named above be transferred with the records of this Court to the United States
District Court for the Eastern District of California upon that Court’s order
of acceptance of jurisdiction. This Court hereby expressly consents that the period of probation or
supervised release may be changed by the District Court to which this transfer is made without further
inquiry of this court.*

Date é Unged Sues Mistrict Judge

. . . . . a
*This sentence may be deleted in the discretion of the transterring Court.

PART 2 - ORDER ACCEPTING JURISDICTION

UNITED STATES DISTRICT COURT FOR THE aster District of California

IT 1S HERFBY ORDERED that jurisdiction over the above-named probationer/supervised

releasee be accepted and assumed by this Court from and after the entry of this order.
BOLUMENT NO an CSA'5

INITIALS,
ee

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Effective Pate Unite |e

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Case 2:06-cr-00319-EJG Document1 Filed 09/22/06 Page 3 of 21
AQ 2458 (Rev. 9/00) - Judernent ina Criminal C.

@ United States District Court FILED

Northern District of California .
i? APR 25 P 1 G2

AMENDED RICHARO W, WIERING
UNITED STATES OF AMERICA JUDGMENT IN A CRIMINALIE RSE COURT
v. (For Offenses Committed On or After Waseftibel. QA GRA) S.J.

JOHNNY CONG HONG Case Number; CR 99-20048-01 JF

AKA LON CONG HONG
JERRY Y. FONG

2 GOrebY CeTLEY Phas tHe ape ct
Defendant's Attomey i itera ety thar ihe annexed
SPL i

THE DEFENDANT: copy. Of the-Griginal liled in my

[x] pleaded guilty to count(s}: COUNTS ONE AND TWO of the Indictment . Clerk, Ua. District Coin
[] pleaded nolo contendere to count(s) ___ which was accepted by the court. a Di trict afirtee he:
{] was found guilty on count(s) after a plea of net guilty.

Date Offense Count
@' & Section Nature of Offense Concluded Nuniber(s}
U.S.C, 1951 (a) Conspiracy to Obstruct Commerce by Robbery, a 3/18/1999 one
Class C Felony
18 U.8,C. 924(c}(1) Using or Carrying a Firearm During a Crime of
Violence, a Class D Felony 3/18/1999 two

The defendant is sentenced as provided in pages 2 through 8 of this judgment. The sentence is imposed pursuant to the
Sentencing Reform Act of 1984.

[] The defendant has been found not guilty on count(s) __.
J Count(s)___ {is)(are) dismissed on the motion of the United States,

IT IS FURTIIER ORDERED that the defendant shall notify the United States Attomey for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special agsessments imposed by this judgment are fully

paid, [f ordered to pay resticution, the defendant shall notify the court and United States attorney of any material change in the defendant's
economic circumstances.

Defendant’s Soc. Sec, No: XXX-XX-XXXX arch 12, 2002
Date of Impositigaof Judgment
Defendant's Date of Birth: 7/20/63 ~
j —
Defendant’s USM No.: 99260-011 “_Bignaturdod Judicial Officer = >
Defendant's Residence Address: Honotable Jeremy Fogel, U. 8. District Judge _
' 5 SW Bertha Blvd. Name & Title of Judicial Officer
and, Or

DOCUMENT NO. CSA's
evs Ov _ A. INITIALS

Date 45

oo

PNTERED IN CRIMINAT. DOCKET ON: APR 29 2002 CRIMINAL CASEPRE: JING

a?
'

Case 2:06-cr-00319-EJG Document1 Filed 09/22/06 Page 4 of 21
AO 245B (Rev. 9/00) : Imprisonment

, DEFENDANT: JOHNNY CONG HONG
LON CONG HONG Judgment - Page 2 of 8
SENUMBER: CR 99-20048-01 JF

IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be

imprisoned for a total term of ONE HUNDRED ONE(101)MONTHS .

Count one, Forthy one(41)months shall run consecutive with count two.sixty (60) months.
[x] The Court makes the following recommendations to the Bureau of Prisons:
The defendant may be placed in a Federal Facility in Califomia
{x] The defendant is remanded to the custody of the United States Marshal.
(] The defendant shall surrender to the United States Marshal for this district.

[] at__on__.
[ ] as notified by the United States Marshal.

@ The defendant shall surrender for service of sentence at the institution designated by the Bureau of
Prisons:

[ ] before _on__.
[ ] as notified by the United States Marshal.
[ ] as notified by the Probation or Pretrial Services Officer.

RETURN
Ihave executed this judgment as follows:

Defendant delivered on to

at , with a certified copy of this judgment.

UNITED STATES MARSHAL

Deputy U.S. Marshal
Case 2:06-cr-00319-EJG Document1 Filed 09/22/06 Page 5of 21
ACh 243B (Rev. 9/00) Sheet 3 - Supervised Relea.

* + DEFENDANT: JOHNNY CONG HONG
LON CONG HONG Judgment - Page 3 of &
SENUMBER: CR 99-20048-01 JF

SUPERVISED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for a term of three (3)
years . .
Count one, three (3) years shall nin concurrent with count two, three (3) years..

While on Supervised Release you shall not commit another federal, state or local crime and shall not illegally
possess a controlled substance. Revocation of supervised release is mandatory for possession of a controlled
substance.

The defendant shall refrain from any unlawful use of a controlled substance. The defendant shall submit
to one drug test within 15 days of release from imprisonment and at least two periodic drug tests thereafter.

[] The above drug testing condition is suspended based on the court's determination that the defendant
poses a low nsk of future substance abuse. (Check if applicable.)

[x] The defendant shall not possess a firearm, destructive device, or any other dangerous weapon.

Oe: of supervised release in mandatory for refusal to comply with drug testing imposed as a condition of
perviston. 18 U.S.C. Sections 3565(b)(3) and 3583 (g)(3)

You shall pay the assessment imposed in accordance with 18 U.S.C. Section 3013, and shall
immediately notify the probation officer of any change in your economic circumstances that might affect your
ability to pay a special assessment, fine, restitution, or co-payments ordered by the Court.

If the judgment imposed a fine or a restitution obligation, it shall be a condition of supervision that you
pay any such fine or restitution that remains unpaid at the commencement of the term of supervision in
accordance with any Schedule of Payments set forth in the Criminal Monetary Penalties sheet of the judgment.
In any case, the defendant shall cooperate with the probation officer in meeting any financial obligations
Case 2:06-cr-00319-EJG Document1 Filed 09/22/06 Page 6 of 21
AO 245) 2456 (Rev. 9/00) Sheet Sheet 3 - Supervised Rel Relea.

. DEFENDANT: JOHNNY CONG HONG
LON CONG HONG Judgment - Page 4 of 8
SENUMBER: CR 99-20048-01 JF

STANDARD CONDITIONS OF SUPERVISION
It is the order of the Court that the defendant shall comply with the following standard conditions:

1) The defendant shall not leave the judicial district or other specified geographical area without permission of
the Court or the probation officer;

2) The defendant shall report to the probation officer as directed by the Court or the probation officer, and
shall submit a truthful and complete written report within the first five days of each month,

3) The defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the
probation officer;

4) The defendant shall support his or her dependants and meet other family responsibilities, including but not
limited to, compliance with the terms of any court order or administrative process pursuant to the laws ofa
state, the District of Columbia, or any other possession or territory of the United States, requiring payments
by the defendant for the support and maintenance of any child or of a child and the parent with whom the
child is living;

5) The defendant shall work regularly at a lawful occupation unless excused by the probation officer for
schooling, training, or other acceptable reasons;

The defendant shall notify the probation officer at least ten (10) days prior to any change in residence or
employment;

7) The defendant shal! consume no alcohol if sentenced to the specia! condition that the defendant are to
participate in a drug/alcohol program;

8) The defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or
administer any controlled substance or any paraphemualia related to any controlled substance, except as
prescnbed by a physician;

9) The defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or
administered;

10) The defendant shall not associate with any persons engaged in criminal activity, and shall not associate with
any person convicted of a felony unless granted permission to do so by the probation officer;

11) The defendant shall permit a probation officer to visit the defendant at any time at home or elsewhere, and
shall permit confiscation of any contraband observed in plain view by the probation officer;

12) The defendant shall notify the probation officer within seventy-two (72) hours of being arrested or
questioned by a law enforcernent officer;

13) The defendant shall not enter into any agreernent to act as an informer or a special agent of a law
eriforcement agency without the permission of the Court;

14) The defendant shall notify third parties of nsks related to the defendant's cnminal record, personal history,
or characteristics, and shall permit the probation officer to make such notifications and/or confirm the
defendant compliance with this notification requirement
Case 2:06-cr-00319-EJG Document1 Filed 09/22/06 Page 7 of 21
AO 2458 (Rev. 9/00) Sheet 3 - Supervised Reica..

DEFENDANT: JOHNNY CONG HONG
LON CONG HONG Judgment - Page 5 of 8
ENUMBER: CR 99-20048-01 JF

SPECIAL CONDITIONS OF SUPERVISION

1) The defendant shall participate in a drug/alcohol aftercare treatment program, which may include testing to
determine whether s/he has reverted to the use of drugs or alcohol, as directed by the probation officer. The
defendant is to pay part or all of the cost of this treatment, at an amount not to exceed sixty dollars ($60.00) per
session, as deemed appropriate by the probation officer. Payments shall never exceed the total cost of urinalysis
and counseling. The actual co-payment schedule shall be determined by the probation officer.

2) The defendant shall submit his/her person, residence, office, vehicle, or any property under his/her control to
a search. Such a search shall be conducted by a United States Probation Officer at a reasonable time and ina
reasonable manner, based upon reasonable suspicion of contraband or evidence of a violation of a condition

of release. Failure to submit to such a search may be grounds for revocation. The defendant shall warn any
residents that the premises may be subject to searches.
Case 2:06-cr-00319-EJG Document1 Filed 09/22/06 Page 8 of 21
AQ 2458 (Rev. 9/00) -Criminal Monetary Penalty, =

- , DEFENDANT: JOHNNY CONG HONG
@: LON CONG HONG Judgment - Page 6 of &
S

E NUMBER: CR 99-20048-01 JF

CRIMINAL MONETARY PENALTIES

The defendant shall pay the following total cnminal monetary penalties in accordance with the schedule of
payments directly following the Monetary Penalties section.

Assessment Fine Restitution
Totals: $ 200.00 $ $

*

[] The determination of restitution is deferred until] _. An Amended Judgment in a Criminal Case (AO 245C)
will be entered after such determination.

[] The defendant shall make restitution (including community restitution) to the following payees in the amounts
listed below.

If the defendant makes a partial payment, each payee shall receive an approximately proportional payment
unless specified otherwise in the pnomity order or percentage payment column below. However, pursuant to 18
@ § 3664(i), all nonfederal victims must be paid in full prior to the United States receiving payment.

*Total Amount of Priority Order or
Name of Payee AmountofLoss Restitution Ordered Percentage of Payment
Totals: 3 3

[] Ifapplicable, restitution amount ordered pursuant to plea agreement 3 _

[] The defendant shall pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is
paid in full before the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the
payment options on Sheet 5, Part B may be subject to penalties for delinquency and default, pursuant to 18
U.S.C. § 3612(g).

{] The court determined that the defendant does not have the ability to pay interest, and it is ordered that:

[ ] the interest requirement is waived forthe { ] fine and/or [ ] restitution.

[ } the interest requirement forthe [ ] fine and/or  [ ] restitution ig modified as follows:

* Findings for the total amount of losses are required under Chapters LO9A, 110, 110A, and 113A of Title 18 for offenses committed on or after Septernber 13, 1994,
but before April 23, 1994.
'
.

Case 2:06-cr-00319-EJG Document1 Filed 09/22/06 Page 9 of 21
AO 2448 (Rev. 9/00) -Criminal Monetary Penalt..

* , DEFENDANT: JOHNNY CONG HONG
@: LON CONG HONG Judgment - Page 7 of &

SENUMBER: CR 99-20048-01 JF

SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties shall be due as
follows:

A [x] Lump sum payment of $200.00 due immediately, balance due
[] notlaterthan_,or
[] wmaccordance with{ )C,( )D, or( ) E below; or
B [] Payment to begin immediately (may be combined with( )C, ( )D,or( ) E below); or

C [] Payment in__ (e.g. equal, weekly, monthly, quarterly) installments of $ _ over a period of __ (e.g.,
months or year(s)), to commence _ (e.¢., 30 or 60 days) after the date of this judgment; or

D [] Paymentin__ (e.g. equal, weekly, monthly, quarterly) installments of $_ over a period of __ (c.g.,
©} months or year(s)), to commence _ (e.g., 30 or 60 days) after release from imprisonment to a term of
supervision; or

E [] Special instructions regarding the payment of criminal monetary penalties:

Unless the court has expressly ordered otherwise in the special instruction above, if this judgment imposes a period
of imprisonment, payment of criminal monetary penalties shall be due during the period of imprisonment. All
criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’ Inmate Financial
Responsibility Program, are made to the clerk of the court, unless otherwise directed by the court, the probation
officer, or the United States attorney.

The defendant shall receive credit for all payments previously made toward any cnminal monetary penalties
unpased,

{] Joint and Several

Case Number Joint and Several
(including Defendant Defendant Name Amount
Number)

©. ] The defendant shall pay the cost of prosecution.

Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitulion interest, (4) fine principal, (3) community restitution, (6) fine
interest, (7) penalties, (8) costs, including cost of prosecution and court costs.
Case 2:06-cr-00319-EJG Document1 Filed 09/22/06 Page 10 of 21

AQ 2745R (Rev. 9/004 -Criminal Manctary Penalti.
* DEFENDANT: JOHNNY CONG HONG
@: LON CONG HONG Judgment - Page 8 of 8
5

ENUMBER: = CR 99--20048-01 JF
{] The defendant shall pay the following court cost(s):

{] The defendant shall forfeit the defendant's interest in the following property to the United States:

Payrnents shall be applied int the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal, (5) community restitution, (6) fine
interest, (7) penalties, (8) costs, including cost of prosecution and court costs,
Case 2:06-cr-00319-EJG Document1 Filed 09/22/06 Page 11 of 21

& J A

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VS.

JOHNNY CONG HONG, aka LON CONG HONKS2@
PHU CHI DOUNG, ‘eeee ©

Count one)

Count Two:

18 U.S.C. § 1951(a)--Conspiracy to Obstruct Commerce
by Robbery

18 U.S.C. § 924(c)(1)--Using or Carrying a Firearm
During a Crime of Violence

oreperson
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Filed in open court this day of
AD. |19__
Clerk
Bail |$ rhe (Necedd—

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Case 2:06-cr-00319-EJG Document1 Filed 09/22/06 Page 12 of 21

ROBERT S. MUELLER, III
res Attorney

United Sta

Attorney f£

UNITED STATES OF AMERICA

br Plaintiff

NORTHERN DISTRICT OF CALIFORNIA

Criminal Ne.:

3
Plaintiff, ) VIO IONS: 18 U.S.C.
) § 19514) -- Conspiracy to
) Obstruct Commerce by Robbery;
Vv. ) 18 U.S.C. § 924(a) (1) --
) Carrying a Firearm during a
JOHNNY CONG HONG, ) Crime of Violence
a/K/fia Lon Cong Hong, )
PHU CHI DUONG, }
COONG SAY HA, )
VAY SENH LI, )
VINH VI LU, )
a/kfal Wing Lu, )
A-UNG PHU,| and }
PHONG UU )
Defendants. }
) SAN JOSE VENUE
INDI CTM EN T
The Grand |Jury charges:
COUNT ONE: (18 U.S.C. § 1951(a)-- Conspiracy to Obstruct
Commerce by Rohkbery)
On or about and between January, 1999 and March 18, 1999

both dates

INDICTMENT

being approximate and inclusive, in the County of

mia Sueno 2 04 8. ik, Qe

aoa

.
Case 2:06-cr-00319-EJG Document1 Filed 09/22/06

Page 13 of 21 -

Santa Clara the Northern District of California, and elsewhere,

the defendants

and others|,
commerce,

robbery of

JOHNNY CONG HONG,
a/k/a Lon Cong. Hong,
PHU CHI BUONG,
COONG SAY HA,
VAY SENH LI,
VINH VI LU,
a/k/a Wing Lu,
A-UNG PHU, and
PHONG UU,

did Knowingly and intentionally conspire to obstruct

And the movement of articles in commerce, by the

a shipment represented to contain approximately one

million dollars ($1,000,000.00) in computer chips moving in

interstate
Code,

COUNT TWO

On or

both dates

commerce, in violation of Title 18, United States

secttion 1951{(a).

(18 U.S.C. § 924(c) (1)--Using or Carrying a Firearm
During a Crime of Violence)

1999 and March 18, 1999,

about and between January,

being approximate and inclusive, in the County of

Santa Clara, Northern District of California, the defendants

did use and carry firearms, that is:

JOHNNY CONG HONG,
a/k/a Lon Cong Hong,

PHU CHI DUONG,

COONG SAY HA,

VAY SENH LI,

VINH VI LU,
a/k/a Wing Lu,

A-UNG PHU, and

PHOUG UU,

(1) a Colt .45 caliber

semiautomatic handgun, serial # FC 22295, during and in relation

to a crind

INDICTMENT

of violence, that is conspiring to obstruct commerce

~~] mo tA

Case 2:06-cr-00319-EJG Document1 Filed 09/22766 Page 14 of 21

by robbery

195i(a).

Section 92

ROBERT 5.

in violation of Title 18, United States Code, Section

All in violation of Title 18, United States Code,

4(c) (1).
A TRUE BILL.
ied a
MUELLER, III VTE 94 flow 74

United States Attorney

ELIZAGETH DE LA VEGA

Chief, San Jose Branch

(Approved

INDICTMENT

as to form: Mow bes )

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cate 2:06-cr-00319-EJG Document1 Filed 09/22/66 Page 15 of 21

DEFENDANT INFORMATION RELATIVE TO A CRIMINAL ACTION - IN U.S. DISTRICT COURT

FORMATION [><] INDICTMENT
["] SUPERSEDING

BY: ["] COMPLAINT [_] |

OFFENSE GHARGED
COUNT ONE: 180U.5.6. § 14 51{a}-Conspiracy

to Obstruct Commerce Rabbe Petty

COUNT TWO: 18 U.S.C, § 924(c}(1)}—-Using or Miner

Carrying a Firearm During a Cima of Violence Misde-
meanor

PENALTY:

c
. 20 Years Imprisionment, $250,000.00 fine, 5 years cuperiso
telease and $100.00 S/A

PROPEEDING ,
Name of Complaintant Agency, or Person (& Title, if any)

RONALD MARINO, FBI

(J

-

person fs awaiting tial injanother Federal or State r
Court, give name of court

this person/proceeding ig transferred from another district
per (circle one) FRCrP 20, 21 of 40. Show District

CO

this is a reprosecution o
charges previously dismissed

. CI which were dismissed 9 SHOW
mation af DOCKET NO.
[_] U.S. Atty [| Defense
C4 this prosecution relates fo a pending
case involving this same defendant
MAGISTRATE
Prior proceedings or appearance(s) CASE NO.

before U.S. Magistrata regarding thi
defendant were recorded under

L

Name and Office of Person
Furnishing Information on

THIS FORM ROBERT &. MUELLER, Il!

D4] v.s.atty [_] Other Us. Agency

Name of Asst, US. Attly

(if assigned) GARY G, FRY

PROCESS:
[_] SUMMONS. [Xk] NO PROCESS"

lf Summons, Gomplete following:
[_] Arraignment [__] Initial Appearance
Defendant Addrass:

——

ADDITIONAL INFORMATION OR COMMENTS

[J WARRANT Bail Amount

Comments:

NORTHERN DISTRICT OF CALIFORNIA

Name of Cstrict Court, andar Judge/Magistrate Lacation (City) —)

}

~,

(
— DEFENDANT - U.S.
» PHONG UU see
DISTRICT. COURT NUMBER og ef GF. a
by &Y eed wy VW ae * Le
LL
DEFENDANT

IS NOT IN CUSTODY

1) [_] Ifnot detained give date any prlor eummons
was served on above charges

2) [| Is a Fugitive
3) [7] 1s on Bail or Release fram (show District}

Has not been arrested, pending outcome this ,

IS IN CUSTODY
4) [_] On this charge

5) [| On another conviction
6) [__} Awaiting trial on other charges [J Fed' ["] state

if answer to (6) ia "Yes", show nama of institution

Has detainer [_] Yes } ive date
been filed? {| No fled
DATE OF Month/Day/Year
ARREST
Or... if Arresting Ageney & Warrant were not Federal
Manth/Day/¥ ear
DATE TRANSFERRED

L TO U.S, CUSTODY

[_] This report amends AO 257 previously submitted

"Where defandant previously epprahanded on complaint, no naw summons
or warrant needed, since Magistrata has scheduled arraignment

Date/Time:

Before Judge:

VQ 257 (Rev. S78)

Cage 2:06-cr-00319-EJG Document 1 Filed 09/22/06 Page 16 of 21

DEFENDANT INFORMATION RELATIVE TO A CRIMINAL ACTION - IN U.S. DISTRICT COURT

BY: [7] COMPLAINT [_] INFORMATION [x] INDICTMENT
[] SUPERSEDING

———~ OFFENSE CHARGED
COUNT ONE: 18 LLS.C. § =f, (a)--Conspiracy

to Obstruct Cammerce Robbe Petty
COUNT TWO: 18U.8.C. § 824(¢)(1)—Using or Minor
Carrying a Fireatm During a Crime of Violance Misde-
meanor
Felony

(~~ Name of District Gourt, and/or Judge/Magistrate Location (City) ———.
NORTHERN DISTRICT OF CALIFORNIA

PENALTY:
20 Years imprisionment, $250,000.00 fine, 5 years supervised
release and $100.00 S/A

PROCEEDING ~
Name of Complaintant Agency, or Person (&Titla, if any)

RONALD MARINO, FBI

T person is awaiting tial injanother Federal or State
Court, give name of cou

gl this person/proceeding is transferred from another district
per (cirele one) FRErP 20, 21 of 40. Show District

this is a reprosecution o
C charges praviously dismissed
which were dismissed a SHOW

motion of DOCKET No.
[_] us. Atty C4 efense
a pending

q this prosecution relates
case involving this sameldefendant

4 ais) MAGISTRATE
ptior proc#edings or appearance(s SE NO.
before U.S. Magistrate regarding thi CASE NO
defendant were recorder under

— —_——

Nae and Office of Parson
Furishing Infarmation on

THIS FORM ROBERT S. MUELLER, ill

B<} us. atty ([] Other Us. Agency

Name of Asst. U.S, Atty

(if assigned) GARY G. FRY

— ADDITIONAL INFORMATION OR COMMENTS 7

PROCESS:
[_] SUMMONS Bk] NO PROGESS*

If Summons, complete following:
Cj Arraignment [] Initial Appearance
Defendant Address:

Comments:

{| WARRANT — Bail Amount:

“Where dafendant previously apprehended on complaint, no frew summons
or warrant needed, since Meqsirate has scheduled arraignment

_
-— DEFENDANT - U.S. _—
» VAY SENH LI
DISTRICT GOURT NUMBER
AQ”
OC BOO 18 JRF
DEFENDANT .

IS NOT IN CUSTODY

Has not been arrested, pending outcome this proceeding.
1} [| if not detained give date any prior summons 5
was served on above charges

2) CJ Is a Fugitive
3) ["] Is on Bail or Release fram (show District)

IS IN CUSTODY
4) | On this charge

5) [_] On ancther conviction
6) [__] Awaiting trial on other charges} [] Fea! [_] State

if answer to (6) is "Yes", show name of institution

Has detainer {_] Yes } Aro dete
been filed? 7] Na filed
DATE OF Month/Day/Year ,
ARREST

Or... if Arresting Agency & Warrant were not Federal

Month/Day/Year
DATE TRANSFERRED
TO U.S. CUSTODY |
.,

{_] This report amends AO 257 previously submitted

Date/Time:

Before Judge:

Lo — ~
287 (Rev. 6/78) Case 2:06-cr-00319-EJG Document 1_ Filed 09/22/06 Page 17 of 21
DEFENDANT INFORMATION RELATIVE TO A CRIMINAL ACTION - IN U.S. DISTRICT COURT

q :
¥ CT COMPLAINT CJ INFORMATION INDICTMENT e7—— Name of District Court, and/or Judga/Magistrate Location (City) -——,

[] SUPERSEDING NORTHERN DISTRICT OF CALIFORNIA
—— OFFENSE CHARGE — IL |
‘OUNT ONE: 18 U.S.C. § 1954 (a)-Conspiracy : DEFENDANT - U.S.
> Obstruct Commerce Robbery [_ ] Patty (— NOD ~,
LOUNT TWO: 18UL8.C. § 924[¢){(1}-Using or | Minor »
rarrying a Firaarm During a Crime of Violence Misde- VINH VLLU aka Wing Lu
meanor

ENALTY: nee C ‘ “OD "30 04 S| JR

20 Years imprisionment, $250,000.00 fine, 5 years supenised me,

‘elease and $100.00 S/A . |
Tle DEFENDANT -
PROCEEDING i$ NOT IN CUSTODY
Name of Complaintant Agency, |or-Person (& Title, If any) nO Has ret tated gh Se ete ary por aanmena’ ,
RONALD MARINO, FBI was served on above charges
OE ee eee
) [] ts on Bail or Release from (show District}

J this person/proceeding Is fensfored from another district

per (circle one) FRCrP 20) 21 or 40. Show District IS JN CUSTODY
4) [_] On this charge
this is a reprosecution of 5) {__] On another conviction
charges previowsl comised shin = get Fad’ 5
[| which re “emicsed on SHOW 5) (_] Awaiting trial on other charges LJ & C] tate
mation of DOCKET NO. If answer to (6) is "Yes", show name of institution
(_| U.S. Atty [7] Defense )
this prosecution relates ta a pending 4
case involving this same dafendant i Yas if "Yes"
MAGISTRATE been fied?” } give date
prior proceedings or appeatance(s) CASE NO [] No ved
[| before U.S. Magistrate regarding thi ,
defendant were recorded undar DATE OF Month/Day/Year
ARREST
Name and Office of Person
Furnishing Informationen = hopepy s MUELLER Ill Or... if Arresting Agency & Warrant were not Federal
THIS FORM : ' Month/Day/Year
DATE TRANSFERRED
XI U.S. Att'y { ] Other U.S. Agancy TO U.S. CUSTODY
Lo
Nama of Asst, U.S. Atty
{if assigned) GARY G. FRY |_| This report amends AO 257 previously submitted
ABDITIONAL INFORMATION OR COMMENTS —
PROCESS:
["] SUMMONS yy NOPROCESS* [| WARRANT Bail Amount

lf Summons, complete following:

{J Arraignment C] Initial Appearance “Where defendant previausly epprahended on complaint, no mew sumnans
or warrant needed, since Magistrate has scheduled arraignment

Defendant Address:
Date/Time:

Plafara Juda!

Comments:

Case 2:06-cr-00319-EJG
AO 257 (Rev, Gf78) :

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DEFENDANT INFORMATION RELATIVE TO A CRIMINAL ACTION - IN U.S. DISTRICT COURT

|

BY: (_] COMPLAINT {_]

INFORMATION [<]} INDICTMENT

IS NOT IN CUSTODY

Qo PROCEEDING
Name of Complaintant Agency, or Person (& Tite, if any)

RONALD MARINO, FBI

V0

if not detained give date any prior summona
was served an above charges

person is awalting trial ir] another Federal or State
Court, give name of court

CO

2) CJ Is a Fugitive
3) ( ] Is on Bail or Retease from (show District)

this person/proceading
par (circle one) FRCrP 20, 21 or 40. Show Oistrict

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transferred-fram another district

Has not been arrested, pending outcome this ,

pr Name of District Court, and/or Judge/Magistrate Location (City) —_
| rl SUPERSEDING NORTHERN DISTRICT OF CALIFORNIA
7—— OFFENSE CHARGED sf __}
COUNT ONE: 18 U.S.C. § 1951(a}-Conspiracy EE TU
to Obstruct Commerca Rob ery Petty (— DEFENDANT - U-S. )
COUNT TWO: 18 U.S.C. § B24(cX1)—Using or) anor »
Carrying a Firearm During a Crime of Viclence Misde- COONG SAY HA
meanor .
Felony DISTRICT COURT NUMBER
. ~ Ly: * oe. ov ue mn Ay, ‘ nee
{ PENALTY: (i the . Ate top me u by Ba
20 Years Imprisionment, $250,000.00 fine, 5 years supervised we eee AO * 7,
release and $109.00 S/A .
j 2 ry
ee ’
L | DEFENDANT .

IS iN CUSTODY
4) (J On this charga

this Is a reprosecution o
charges previously dismissed
which Were dismissed o
motion of:

U.S. Atty [} Defense |

CO

SHOW

\ DOCKET NO.

5) [_] On another conviction

If answer to (8) is "Yes", show name of institution

6) [~] Awaiting tral on ather charges [_] Feat (_] State

Cl this prosecution relates to 4 pending
case involving this same defendant Yes if "Yes"
MAGISTRATE Has antainer Cd } give date

plor proceedings or appparance(s) CASE NO n C] Na fled

before U.S. Magistrate ragarding this lone .

defendant were recorded under DATE OF Month/Day/Year

—/ ARREST

Name and Office of Person : .

ee . Ov... if Arresting Agency & Warrant were not Federal
Furnishing information on ROBERT S, MUELLER, lil Month/Day/Year

DATE TRANSFERRED
x} U.S. Atty [} Other U.S, Agency TO U.S. CUSTODY

Nama of Asst U.S. Atty

("] This report amends AO 257 previausly submitted

(if assigned) GARY G. FRY
ADDITIONAL
PROCESS:
[_] SUMMONS [Xx] NO PROCESS"

if Summons, complete following:
("] Arraignment | [| inital Appearance
Defendant Address:

INFORMATION OR COMMENTS

{_] WARRANT Bail Amount

“Where defendant previously apprehended an complaint, ne new simmons
of warrant Needed, sinca Magstrate has scheduled arraignment

Date/Time:

Before Judge:

Comments:

Case 2:06-cr-00319-EJG Document1 Filed 09/22/06 Page 19 of 21
Dept eee a ee ee cee ae OD eee LT PAD I wir i _]

BY: |] COMPLAINT [_] |NFORMATION [X] INDICTMENT | (7 Name of District Court, and/or Judge/Magistrate Location (City) ——
[—] surerseoine NORTHERN DISTRICT OF CALIFORNIA

7——~ OFFENSE CHARGED

. _—
COUNT ONE: 18U.8.C, § 1951 (a)—Conspiracy .
to Obatruct Commerce Robbery Petty ( DEFENDANT U.S. )
COUNT TWO: 18 U.S.C. § 924(c)(1}—Using or Minor >
Carrying a Firearm During a Grime of Violence Minde- PHU CHI DUONG
meaner
XI Felony CISTRICT COURT NUMBER

PENALTY: Re myo ” {) oy £), 8

- 20 Years imprisionment, $250,000.00 fine, 5 yeara supervised !

raleasa and $100.00 S/A
1 4
J DEFENDANT jE ~

PROCEEDING — IS NOT IN CUSTODY . -f
“Hey i Has not been arrested, pending outcome this proceading.
Name of Complaintant Agendy, or Person (&Tite, if any) 1) CX if nat detained give date any prior auntmons > g
RONALD MARINO, FRB! waa served on above charges
oq person fs awaiting tral oo Federal or State 2) | ls a Fugitive
Court, give name of co 3) [—] Is on Bail or Release from (show District)

CO this persan/proceading it transfarrad from another district

per (circla one) FRCrP 20, 21 or 40. Show District ISIN CUSTODY
4) [J On this charge
"this isa reprosecution o 5) [ ] On another conviction
LJ eharges previoualy em ed SHOW 6) [__] Awaiting trial on other charges LJ Feat [_] State

lf answer to (6) fs "Yes", show name of institute
[_] U.S. Atty [7] Defense « "

motion of \ DOCKET NO.
C4 this prosecution relates th a pending

case involving this same|defendant MAGISTRATE Has detainer [| Yes } tnves"
prior proceedings or appearance(s) CASE NO been filed? [ | Noa 5 ed
before U.S, Magistrate regarding th .
defendant were racorded under DATE OF Month/Day/Year
= ARREST *
Name and Office of Person . : .
Furnishing Information on ROBERT $. MUELLER II Or... if Arresting Agency & Warrant were not Federal
THIS FORM : : DATE TRANSFERRED Month/Day/Year
Se
SS] u.s.atty [] Other U.S. Agency | | TO US. CUSTODY
Name of Asst, U.S. Aity . .
(if assigned) _ GARY G. FRY [J This report amends AO 257 previously submitted
ADDITIONAL INFORMATION OR COMMENTS “
PROCESS: o
|] SUMMONS [Xj NO PROCESS* [_] WARRANT Baill Amount
If Summons, camplete foliawing:
|] Atraignment [| Initial Appearance "Where defendant previously apprehended on complaint, no naw summons
: d@, ance Magsirale Aas scheduled arraignment
Defendant Address: or warrant neade
Date/Time:
Before Judge:

Comments:

Case 2:06-cr-00319-EJG Document1 Filed 09/22/06 Page 20 of 21

BY: [|] COMPLAINT [_] INEORMATION DX} INDICTMENT

COUNT ONE: 18 U.S.¢. $1
to Obatruct Commerce Robb

PENALTY:

- 20 Years imprislonment, $250
release and $100.00 S/A

OFFENSE Se. § st

ty Petty
COUNT TWO: 18 U.S.C. § 924(c)(1)—Using or
Carrying a Firearm During a Grime of Viclance

[_] SuPERSEDING

51(a)—Conapiracy

Minor

Misde-
maanor

[X] Fetony

000.00 fine, 5 years “renin

RONALD MARINO, FBI

PROCEEDING 7
Name of Compiaintant Agency, or Person (&Titla, if any)

person is awaiting trial In

C]

Cour, give name of court

another Fadaral or State

this pereon/proceeding i

C

par (circla ona} FRCrP 20, 21 or 40. Show District

transferred from another district

this is a reprosecution o
Oo charges previously dism}

which were disnissed o
motion of,

{"] U.s. Atty [7]

this prosecution relates ti
case involving this same

C

prior proceedings or ap
befora U.S. Magistrate r
defendant were recarded

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SHOW
DOCKET NO.
fense
na pending
defendant
MAGISTRATE
arance(s) CASE NO.
arding th
1 under

cc Name of District Court, and/or Judge/Magistrate Location (City) -———.,
NORTHERN DISTRICT OF CALIFORNIA

ae as

NDANT - U.S. *
(— DFFEN N

» JOHNNY CONG HONG aka Long Cong Hong

Name and Office of Person
Furnishing Information on

ROBERT S&S. MUELLER, Ill

THIS FORM
x

Narna of Asst. U.S, Att'y
(if assigned)

U.S. Atty r | Other U.S. Agency

GARY G. FRY

PROCESS:

[_] suMMoNS [x

if Summons, ci
[} Arraignment

Defendant Address:

| NO PROCESS*
bmptete following:
C] Initial Appearance

DISTRICT COURT NUMBER
99 20048 JF
1 a : '
QQ 2! )
\ Se
( DEFENDANT ‘y
IS NOT IN CUSTODY

Has not been arrested, pending outcome this proceeding.
1) [ ] If not detained give data any prior summons
was served on above charges

2) [ ] ls a Fugitive
3) [_] Is on Bai or Release from (show District)

18 IN CUSTODY
4) [| On this charge

5) [_] On another conviction
6) [__] Awaiting tial on other charges} [[] Feat [_] State

If answer to (8) is “Yes”, show name of institution

Lj Yas

. if "Yes"
Has detainer } give date

heen fled? | | No Hed
DATE OF Month/Day/Year
ARREST

Or... if Arresting Agency & Warrant were nat Fedaral

th/DayfYear
DATE TRANSFERRED Month/Dayea
TO U.S. CUSTODY

ADDITIONAL INFORMATION OR COMMENTS "

[-] WARRANT Bail Amount,

“Where defendant previeusly apprehended on complaint, no new surnmons
or warrant needed, Since Magistrate has scheduled arrafgnment

Comments:

[ ] This report amends AO 257 previously submitted

Date/Time:

Before Judge:

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2:06-cr-00319-EJG Document 1 Filed 09/22/06 Page 21 of 21

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|

BY: ["] COMPLAINT [] INFORMATION INDICTMENT

[ ] SUPERSEDING NORTHERN DISTRICT OF CALIFORNIA

— Name of District Court, and/or Judge/Magistrate Location (City) -—,

OFFENSE CHARGED \. _J
COUNT ONE: 18 U.S.C. § 1951 (a}-Conspiracy oD -US.
to Obstruct Commerce Robbe Peity EFENOANT )
COUNT TWO: 18.5.6. § 924(c)(1)—Using or [7] Minor b
Carrying 4 Fireann Dunng a Crime of Violence Misde- A-UNG PHU
maanor '
TF DISTRICT COURT NUMBER
F .
PENALTY 99 20048
20 Years imprisionment, $250 000.00 fine, 5 yeara supervised
release and $100.00 S/A
Ne sant
| f DEFENDANT ~
PROGEEDING 1 IS NOT IN CUSTODY

Name of Complaintant Agency, or Person (&Tita, if any)

RONALD MARINO, FBI

1) [| If not detained give date any prior summons
was served on above charges

OO person is awaiting tial in another Faderal or State

Court, give name of court

rv 2) [_] ts 4 Fugitive
3) [_] Is on Ball or Release from (show District}

Cl this person/proceeding is transferred fram another district

per (circla ana) FRCrP 20) 21

Has not been arrested, pending outcome this ,

or 40. Show District iS IN CUSTODY
4) [_] On this charge

this is 3 reprosecution of

O charges previously dismissed
which were dismissed on
maton of:

{ ] U.S. Att'y 7 Defense
C this prosecution relates to la panding

5) [} On another conviction
SHOW 6) Cl Awaiting trial on other charges L] Fed UC] State

DOCKET No. If answer to (6) is "Yes", show name of institutian

case involving this same defendant : tal Yes Yes"
MAGISTRATE ee Ned? CI } give date
prior proceedings of appearance(s) CASE NO. [| No filed
before U.S, Magistrate regarding th
defendant were recorded under _| DATE OF Month/Day/Year
: ARREST
Yame and Office of Person . .
Furnishing information on HOBERT S. MUELLER I Or... if Arresting Agency & Warrant were nat Federal
THIS FORM . ’ Month/Day/Year
DATE TRANSFERRED
X] U.S. Atty [| Other U.S. Agency TO U.S. CUSTODY
Name of Asst, U.S. Atty —
(Hf agsigned) GARY G. FRY [”] This report amends AO 257 previously submitted
ADDITIONAL INFORMATION OR COMMENTS
PROCESS:
{_] SUMMONS [X] NO PROCESS* [~] WARRANT Bail Amount
if Summons, complete following:
[] Arraignment [ ] Initial Appearance “Where defendani previously apprehended on complaint, no new summons
Defendant Addr dss: or warrant needed, since Magistrate has scheduled arraignment
Date/Time:
Before Judge:
Commants;:

